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                Exhibit B
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From:                              Tobin, Charles D.
Sent:                              Tuesday, April 15, 2025 10:13 AM
To:                                Lyons, Jane (USADC); Hudak, Brian (USADC); Freeman, Mark (CIV); Myers, Steven A.
                                   (CIV); Salzman, Joshua M. (CIV); Walker, Johnny (USADC); McArthur, Eric (CIV)
Cc:                                Mishkin, Maxwell S.; Dudding, Sasha
Subject:                           The White House's ongoing failure to include the AP in the press pool, in violation of
                                   the Court's injunction order
Attachments:                       FW: DAILY GUIDANCE AND PRESS SCHEDULE FOR MONDAY, APRIL 14, 2025; FW:
                                   DAILY GUIDANCE AND PRESS SCHEDULE FOR TUESDAY, APRIL 15, 2025


Counsel, attached are the White House Daily Guidance and Press Schedules for yesterday, April 14, and today, April 15.

Despite the District Court’s April 8 injunction order that required the White House to “immediately rescind” the denial of
the Associated Press’s access to the press pool, and the Court’s denial on April 11 of the government’s stay motion, the
AP has not been selected for either the wire service or photo slots in the pool in the past five business days. In fact, as
to photos, the White House has included the same four members of that pool both yesterday and today, excluding only
the AP.

Again, today is the fifth business day since the District Court ordered the White House to “immediately” include the AP
in the pool. Under a non-discriminatory system, the AP should have been selected for either the wire or photo pool, or
both, by today.

Its continued failure to include the AP strongly indicates that the White House, as an official there told the AP yesterday,
continues to be excluded because of the litigation the AP brought, and because the AP will not accede to the President’s
demands that it change The AP Stylebook to reflect his executive order’s re-designation of the “Gulf of America.”

We are waiting for the White House’s firm commitment by close of business today that the AP will be restored to the
pool “immediately” and regularly receive a rotating assignment to daily pool opportunities, as well as pre-credentialed
events. If none is forthcoming, we will ask the District Court to enforce the injunction order.

Thank you,
Chuck Tobin


Charles D. Tobin




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Dudding, Sasha

From:                                 Tobin, Charles D.
Sent:                                 Tuesday, April 15, 2025 9:10 AM
To:                                   Tobin, Charles D.
Subject:                              FW: DAILY GUIDANCE AND PRESS SCHEDULE FOR MONDAY, APRIL 14, 2025




           FOR IMMEDIATE RELEASE
           04/13/25


                                        DAILY GUIDANCE AND PRESS SCHEDULE
                                                FOR MONDAY, APRIL 14, 2025




           In-Town Pool

           Wire: Reuters

           Photos: AFP, NYT, Reuters, Getty

           TV Corr & Crew: CNN

           Secondary TV Corr & Crew: Telemundo

           Print: Washington Examiner

           Radio: CBS Radio



           EDT

           9:00 AM              In-Town Pool Call Time



           11:00 AM            THE PRESIDENT greets the President of the Republic of El Salvador

           Stakeout Location
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Open Press



11:05 AM         THE PRESIDENT participates in a Bilateral Meeting with the President of the Republic of

El Salvador

Oval Office

White House Press Pool



11:35 AM           THE PRESIDENT participates in a Bilateral Lunch with the President of the Republic of

El Salvador

Cabinet Room

Closed Press



3:00 PM         THE PRESIDENT participates in a visit with the 2025 College Football National Champions -

The Ohio State University

South Lawn

Pre-Credentialed Media

Media Sign-Up Link Here

(Link closes Monday, April 14 at 8:00 AM)




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Dudding, Sasha

From:                           Tobin, Charles D.
Sent:                           Tuesday, April 15, 2025 9:09 AM
To:                             Tobin, Charles D.
Subject:                        FW: DAILY GUIDANCE AND PRESS SCHEDULE FOR TUESDAY, APRIL 15, 2025




           FOR IMMEDIATE RELEASE
           04/14/25


                                    DAILY GUIDANCE AND PRESS SCHEDULE
                                        FOR TUESDAY, APRIL 15, 2025




           In-Town Pool

           Wire: Bloomberg

           Photos: AFP, NYT, Reuters, Getty

           TV Corr & Crew: FOX

           Secondary TV Corr & Crew: Sinclair

           Print: Washington Post

           New Media: Spectrum News

           Radio: FOX Radio



           EDT

           9:00 AM            In-Town Pool Call Time
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12:30 PM            THE PRESIDENT and the Vice President have lunch

Private Dining Room

Closed Press



2:30 PM             THE PRESIDENT signs Executive Orders

Oval Office

Closed Press



3:30 PM              THE PRESIDENT participates in a Commander-in-Chief Trophy

Presentation to the Navy Midshipmen - the United States Naval Academy

East Room

Pre-Credentialed Media

Media Sign-Up Link Here

Media Link closes Tuesday at 10:00 AM



Briefing Schedule

1:00 PM             Press Briefing by the White House Press Secretary Karoline Leavitt

James S. Brady Press Briefing Room

On Camera




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